Dear Secretary Carnahan:
This opinion letter responds to your request dated January 29, 2010, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Bradley Ketcher (version 2) regarding a proposed amendment to Chapters 86 and 87, Revised Statutes of Missouri. The proposed summary statement is as follows:
  Shall Missouri law be amended to allow any city not within a county, currently St. Louis City, the option to replace the current state control over that city's municipal police and firefighters' retirement benefits systems by passing ordinances that establish local control of the city's municipal police and firefighters' retirement benefits?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  CHRIS KOSTER Attorney General